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       `                                                     ​   July 20,
2020
Dear Honorable Michael F. Urbanski,
       Greetings! My name is Joyce Davis. I am a teacher in the Danville
Public Schools in Danville, Virginia.
        I am writing in reference to Matthew Ferguson. I have known this
young man since his birth. Generations of both families have attended the
same church as well as lived in the same communities. Mathew was
raised to be an honest and dependable individual. He was in the Boy
Scouts at an early age. He played little league sports. His grandmother’s
hope was to keep him occupied with positive activities to keep him out of
the streets.
          Matthew was very active in church. Throughout his life he sang in
the youth choir and Jr. Usher Board. He also led the Praise Team. Children
loved him. He loves children and is quite the jokester! He is well loved in
the church community.
         Unfortunately sometimes hanging out with the wrong type of people
can make you a follower to fit in. That is what happened to Matthew
Ferguson. He made wrong choices while trying to please and be accepted
by the wrong type of people.

         It is my hope that you take this in consideration when you are
deciding Matthew’s fate.



                                              Sincerely,
                                              Joyce Davis
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To Whom It May Concern:

   My name is Barry Mayo and I am writing this letter on behalf of Mathew Ferguson. I am the former
Case Manager for Virginia CARES Re-Entry program of Danville, were he learned how to become a
productive citizen, focusing on stabilization of employment and career choices. I have known Mathew
for over 20 years, he and his family lived in the same neighborhood that I lived in; his grandmother Mrs.
Jesse Ferguson was a dear friend to my mother who helped raised Mathew from a five year old child
until adulthood, giving him a loving family and a good home. Mathew was a very energetic young man
growing up; he loved playing outside and with friends in the neighborhood. As an adult he took a turn
at making bad choices which accounted for spending time in and out of jail as well as supervised
probation. I am an advocate and firm believer that the Virginia prison system is the best at
rehabilitating individuals who have committed a crime. In reference to his past mistake I truly feel that
Mathew can bounce back and live a productive life when given the chance. He has a strong and
supportive family that will provide him the support so that he can learn to become a productive citizen.



Sincerely,



Barry P. Mayo
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Honorable Michael F. Urbanski, United States District Judge
% Mary E. Maguire, Assistant Federal Public Defender, Office of the Federal Public
   Defender,
701 E. Broad Street, Suite 3600, Richmond, Virginia 23219
July 7, 2020




 To the Honorable Michael F. Urbanski:

          My name is Lynnette A. Thomas and I have known Matthew Ferguson since he was born
 for his mother and I are great friends. As Matthew and my son grew up together with Matthew
 being the older brother, I relied heavily on the input from Matthew’s grandmother, Mrs. Jesse
 Ferguson in keeping me abreast in the sport-related opportunities available for our sons as a
 measure of keeping them busy and out of harm’s way. I also served as Matthew’s Homebound
 Teacher when he was placed on Homebound Instruction when he was in high school. Admittedly,
 Matthew has stayed in my home many times with me calling Ms. Jesses to inform her of his
 whereabouts. We are family. Therefore, I know the family and Matthew very well. Still now, and
 from time to time, Matthew still calls me.
          Matthew is a young man who may have went astray but comes from good stock, has had
 great upbringing, has had the luxury of a wonderful family environment coupled with ongoing
 spiritual support from his church family as well. However, Matthew, like so many other young
 African American young men, are products of growing up lacking a father or other strong male
 figure in the home which places/ed him in a great disadvantage from the very beginning he took
 his first breath.
          Matthew is a very friendly and embracing young man who likes people and loves to
 engage in conversation. He will talk to and befriend anyone who gives him a chance to get to
 know them. Nonetheless and at times, it has appeared that Matthew has failed or come short in
 his ability to decipher who not to associate with. With strong male figures being lacking in his
 life, I believe that Matthew was looking for a bond that he couldn’t find within his family for
 after his grandfather died, no man remained in his life. Did I fail to say how important bounding
 is for the psychological, emotional and social development of children, especially boys?
          All that I can attest to is that Matthew has always been respectful to me and there was
 nothing he wouldn’t do for me; in fact, he became and remains my son’s big brother who often
 would help me keep my son on track. MC, as we call him, is not a bad person, truly not a “thug”
 nor does he pretend to be. What has happened to MC breaks my heart for I can only empathized
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in how his grandmother and other family members must feel with him being incarcerated and
now with him being sentenced soon. Matthew is not a bad kid, but a kid who made friends with
those not having the same upbringing and character that he truly has. He is a good kid who made
some mistakes. I ask, “Who hasn’t made mistakes in life?” The MC that I know, and love is
indeed generous, helpful, considerate, friendly and indeed, talkative. There is so much that
awaits him in life for his last employer still, 2 years later, would hire him back according to his
grandmother-this says a lot about who MC truly is. We make mistakes in life, we all do, and MC
is no different.
        MC will call me just to talk. He misses his true friends and those he knows care for him. I
am tearing as I type this character letter for, I can only sympathize with the family in his
incarceration and future sentencing for it breaks my heart, as well. I now am wiping my tears
because I am feeling only some of the pain and anguish the Ferguson family has felt now for 2
years; it hurts me too. He’s a good child who made bad decisions and sometimes decisions made
willingly and or unwillingly, can put one in a bad and dreadful circumstance. This is where MC
finds himself today.
        My wish and prayer for Matthew Ferguson is for him to get released with time served.
His punishment: Community service in some format talking to young boys and teenagers about
how decisions, right or wrong, will, can, most certainly, affect one’s future. Or better yet, a job
placement within the J&D courts system such as being a part of the Divergent Program that is
designed to redirect young men who are vulnerable to crime due to their specific conditions in
life: poverty, single parent household, drug and gang involvement, unemployment, etc.
        I ask the court to consider my plea, for this is what this letter represents, my pleas for
Matthew’s release while speaking on behalf of Matthew’s character. I am his Aunt Lynnette and
you don’t have to reach deep to see, feel and receive his love. I am most certain that his character
and simply just who he is sticks out like a sore thumb when he is compared to his fellow cell
mates. Everyone, I am sure, sees something different that is unique and good about him.
Matthew is a good kid who made some bad mistakes.
        Please consider seriously and without prejudice my character letter on behalf of Matthew
Ferguson.


Sincerely submitted,
Lynnette A. Thomas, Ed.S.
Special Education Teacher-Danville Public Schools
Family friend
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To: Honorable Michael F. Urbanski, United States District Judge



     Hey my name is Michael Ferguson Sr., I am Matthew’s uncle. I have been an educator for over 36 years in the
public education system in the following roles; (teacher, coach, principal). I have known Matthew his entire life, and
witnessed my parents raising him since birth, due to unfortunate circumstances and behaviors by my sister.
Matthew’s mother was addicted to drugs during her pregnancy and he struggled with impulsive behaviors including
ADHD. I believe Matthew’s biological parental absence of love and support contributed to his need to seek attention
that were often provoked by negative impulsive decisions like injecting in adult conversations, engaging in with peers
who were making bad decisions or simply just disregarding morals and values that were instilled at home.
    When he started school he was a respectful student to the adults in the building; however, he got in trouble trying
to gain attention or impress his peers in order to be liked. These types of behaviors resulted in some discipline
actions received throughout his schooling which ultimately caused him to be removed from sport teams. As a result
of this removal from sports, his foundation outside of the home was shattered causing him to lose additional
guidance, support, encouragement and discipline. I would often get phone calls from my mom and sisters about his
behaviors and choices outside of the home. This would often cause me to drive to Danville and often have a heart to
heart conversation with him about making better choices. He would be very apologetic and stress how hurt he was
for disappointing me.

     Supporting my parents rearing Matthew, I would often bring him along with my kids on vacations providing
experiences and ensuring love as well as showing he is valued and appreciated. He has always been a fun loving
young man, who spent a lot of his time in the church playing drums and praising the Lord. He is a very respectable
person and is loved by everyone in the church and community. I know he spent some time in the area talking with
youth about staying out of trouble and making positive choices to prevent them from making some of the negative
choices he encountered. He is well liked by everyone in the neighborhood and a delightful person to be around. He
is a young man that has character and values; however, he has shown a tendency to waiver from morality and what
he knows to be right to be accepted by his peers.

       As his uncle and someone who loves him, I am very disappointed with some of the behaviors and choices he
has made as a young teen; however, I believe if given an opportunity he would readily give back to his community by
being a positive leader and mentor for others who might be faced with some of the same challenges that landed him
in the correctional system. I know he is remorseful for the things he has been charged with and wants nothing more
than to find a way to correct his wrong. Since incarceration I'm in consistent communication with Matthew. I am
confident knowing he has benefited from being rehabilitated utilizing proper resources and can identify his needs and
ability to be a successful citizen. The dialogue we have consistently had shows Matthew has matured and accepted
accountability for his actions. He expresses with me often on the phone that he’s looking forward to learning a trade/
skill to be a productive contributor in society.

Thanks you for your consideration in this matter;
Michael L Ferguson
